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UNITED STATES DISTR|CT COURT
FOR THE DlSTR|CT OF MARYLAND

LORNA WASH|NGTON *
Plaintlff *
v. * Civil Action No.:
WASH|NGTON l\/lUTUAL BANK *
Defendants *
NOT|CE 0F REMOVAL

 

Defendant Washington Mutua| Bank, incorrectly sued 'as Wash l\/lutual
(“Defendant"), by its attorneys and pursuant to 28 U.S.C. §§ 1331 and 1441, et §_eg., tiles
this Notice of Removal and as grounds for removal states:

1. Plaintiff Loma Washington (“Plaintift”), filed suit against Defendant in the
District Court of l\/laryland for Frederick County, on or about December 19, 2006.

2. Defendant received a copy of the Summons and Complaint filed by Plaintiff
on or about January 2, 3007.

3. Plaintiff's Complaint alleges violation of the federal Fair Credit Reporting Act,
15 U.S.C. § 1681 et s_eg., and federal Fair Debt Collection Act, 15 U.S.C. § 1692, et B.,
and seeks damages in the amount of $5,000.00.

4. This action is subject to removal pursuant to 28 U.S.C. § § 1331 and
1441(b) at the request of Defendant because Plaintifl"s claims arise under the law of the
United States.

5. Defendant has filed this Notice of Removal Within 30 days after receiving a
copy of the Summons and Complaint in this action.

6. Attached to this notice are copies of all papers served on Defendant in the

state court action.

DMEAST #9699298 v1

 

 

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DMEAST #9699298 v1

Respe ' l submitted,

 

Robei?=(A. scott (#24613)

Ballard Spahr Andrews & lngersoll, LLP
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18"h Floor

Baltimore, MD 21202

(41 0) 528-5600

Attomeys for Defendant

 

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CERTlFlCATE OF SERVICE
l HEREBY CERTlFY that on the 19th day of January, 2007, a copy of the foregoing

Notice of Removal Was mailed by first class mail, postage prepaid to:

Loma Washington, pro se
6960 Exeter Court
Apartment 105

Frederick, l\/lary|and 21703

Ro ert A. Scott

DMEAST #9699298 v1

